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UNITED STATES DISTRICT COURT co pae
MIDDLE DISTRICT OF FLORIDA -

ORLANDO DIVISION ee,
UNITED STATES OF AMERICA
Vv. Case No. 6:08-cr-176-Orl-28GJK
(Forfeiture)

FRANK L. AMODEO
PRELIMINARY ORDER OF FORFEITURE

THIS CAUSE comes before the Court upon the filing of the Motion of the United
States of America for Issuance of a Preliminary Order of Forfeiture, which, upon entry,
shall be a final order of forfeiture as to the defendant, Frank L. Amodeo. The Court,
being fully advised in the premises, hereby finds as follows:

1. That defendant, Frank L. Amodeo, has agreed that as a result of the
conspiracy to commit wire fraud in, in violations of 18 U.S.C. § 371, and as alleged in
Count One of the Indictment to which he pled guilty, the assets described more fully
below are subject to forfeiture to the United States.

2. That, pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. §
2461(c), and Fed. R. Crim. P. 32.2(b)(2), the United States is entitled to the forfeiture of
the following as a result of his actions:

a. The real property, including all improvements thereon and appurtenances
thereto, located at:

(1) 1159 Delaney Avenue, Orlando, Florida;
(2) 3801 Carolina Avenue, Richmond, Virginia;
(3) | 4905 Research Drive, Huntsville, Alabama;

(4) 102 West Whiting Street, Tampa, Florida; and

"ey,
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(5)

The proceeds of the sale of 509 Riverfront Parkway, Chattanooga,
Tennessee, currently held in the bankruptcy estate of Winpar
Hospitality Chattanooga, LLC, Case No. 07-11908, U.S. Bank.
Court, E.D. Tenn.

b. The following vehicles:

(1)

(2)

(3)

2006 Black Harley Davidson Motorcycle,
VIN # 1HD1BWB156Y077592;

2006 Mercedes Benz CLS 500C Coupe,
VIN # WDDDJ75X46A032858; and

2006 BMW 750Li, VIN # WBAHN83536DT30059

C. Gates Learjet Model 25D, Aircraft Number 4488W;

d. The following promissory notes:

(1)

(2)

A promissory note in the amount of $3,500,000.00 dated on or
about May 7, 2007 between Wellington Capital and Worker's
Temporary Staffing, Inc., including payments of $63,000.00 per
month; and

A promissory note in the amount of $5,500,000.00 dated on or
about May 27, 2007 between Mirabilis Ventures, Inc. and Conrad
D. Eigenmann, Jr., including semi-annual payments of at least
$100,000.00.

e. The following seized funds:

(1)

(2)

(3)

(4)

$253,487.45 in proceeds seized from the trust account of the law
firm of Balch Bingham LLP;

$101,393.86 in proceeds seized from the trust account of the law
firm of Shutts & Bowen;

$42,419.72 in proceeds seized from the trust account of the law
firm of Mateer and Harbert;

$100,000.00 in proceeds seized from the trust account of the law
firm of Maher, Guily, Maher PA;
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(5)

(6)

(7)

(8)

(9)

$105,922.96 in proceeds seized from the trust account of the law
firm of Martin, Pringle, Oliver, Wallace, & Baur LLP;

$50,000.00 in proceeds seized from the trust account of the law
firm of Bieser, Greer & Landis LLP;

$8,518.30 in proceeds seized from the trust account of the law firm
of Allen, Dyer, Doppelt, Milbrath & Gilchrist PA;

$25,000.00 in proceeds seized from the trust account of the law
firm of Valenti, Hanley & Robinson PLLC;

$10,000.00 in proceeds seized from the trust account of the law
firm of Brown, Stone, & Nimeroff LLC;

(10) $21,900.00 in proceeds seized from the trust account of the law
firm of Hunt Rudd PA;

(11) $41,029.54 in proceeds seized from the trust account of the law
firm of Ford & Harrison PA;

(12) $12,528.51 in proceeds seized from the trust account of the law
firm of Broad & Cassel;

(13) $20,754.19 in proceeds seized from the trust account of the law
firm of Latham, Shuker, Barker, Eden, & Beaudine LLC; and

(14) $13,100.99 in proceeds seized from Fifth Third Bank Account No.
7440599020 in the name of Soone Business Development.

f. The assets of the following corporations, including but not limited to the

below listed lawsuits and/or settlements:

Corporations:

AEM, Inc., d/b/a Mirabilis HR,

AQMI Strategy Corporation,

Hoth Holdings, LLC,

Mirabilis Ventures, Inc.,

Nexia Strategy Corporation,

Presidion Solutions, Inc.,

Professional Benefit Solutions, Inc.,
d/b/a Presidion Solutions VII, Inc.

Quantum Delta Enterprises, Inc.,
d/b/a Siren Resources, Inc.,

3
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Titanium Technologies, Inc.,
f/k/a Titanium Consulting Services, Inc.,
Tenshi Leasing, Inc.
Wellington Capital Group, Inc.

 

 

Lawsuits:
Style of case Location Case No.
Mirabilis Ventures, Inc. v. | Broward County, Florida | CACE 07011827

Jeffrey Reichel

 

Mirabilis Ventures, Inc,
and Nexia Strategy Corp.
v. Palaxar Group, LLC, et
al.

Orange County, Florida

07-co-13191 (37)

 

Mirabilis Ventures, Inc. v.
Forge Capital Partners,
LLC, et al.

Orange County, Florida

07-CA-13828 (33)

 

Mirabilis Ventures, Inc. v.
J.C. Services, Inc., et al.

U.S.D.C., M.D. FI.

6:06-cv-1957-Orl-22KRS

 

AEM, Inc. d/b/a Mirabilis
HR v. Sheryl Okken,
Progressive Employer
Services, LLC, et al.

Brevard County, Florida

05-2007-CA-006526

 

RKT Constructors, Inc. v.
Del Kelley and Robi
Roberts

Orange County, Florida

2007-CA-012599-0

 

Mirabilis Ventures, Inc. v.

Stratis Authority, Inc., et al.

Orange County, Florida

07-ca-13826 (37)

 

Mirabilis Ventures, Inc. v.
Premier Servicing, LLC
and Robert Konicki

Orange County, Florida

07-ca-33197 (34)

 

Mirabilis Ventures, Inc. v.
Robert Lowder, et al.

Orange County, Florida

2006-CA-005742-0

 

 

Kenneth Hendricks, et al.
v. Mirabilis Ventures, Inc.,
et al. (Counterclaim)

 

U.S.D.C., M.D.FI.

 

8:07-cv-661-T17EAJ

 

 
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Style of case

Location

Case No.

 

Kenneth Hendricks, et al.
v. Mirabilis Ventures, Inc.,
et al. (Counterclaim)

Hillsborough County,
Florida

DC-07-014201J

 

Berman, Kean & Riguera,
P.A. v. Mirabilis Ventures,
Inc., et al. (Counterclaim)

Broward County, Florida

07-024968 (21)

 

Anthony T. Sullivan v.
AQMI Strategy
(Counterclaim)

Orange County, Florida

07-CA-0015981-0

 

 

 

 

Paysource, Inc. And U.S.D.C., S.D. Ohio 3:07cv0129
Robert Sacco v. Mirabilis

Ventures, Amodeo, et al.

(Counterclaim)

Prime Acquisition Group, Palm Beach County, 502007CA02242
LLC v. lonic Services, Inc., | Florida

et al. (Counterclaim)

Michael Mapes, et al. v. U.S.D.C., D. Neb. 8:07cv77
Wellington Capital Group,

Inc.

Briarcliff Village, LLC v. Clay County, Missouri 07CY-CV09414

Mirabilis Ventures, Inc.

 

William Gregory v. Floyd
Road v. Mirabilis Ventures,
Inc. (Counterclaim)

Hillsborough County,
Florida

07-CA-010780

 

Coastal Equity Partners,
LLC v. Pacific Atlantic
Capital Corp., et al.
(Counterclaim)

Henrico County, Virginia

CLO7-1960

 

Liberty Property Limited
Partnership v. Mirabilis
Ventures, Inc., et al.
(Counterclaim, settled)

Duval County, Florida

162007CA003642

 

 

Tranmere Rovers Football
Club v. Mirabilis Ventures,
Inc. (Counterclaim, settled)

 

Liverpool, England

 

7LV30022

 

 
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Style of case

Location

Case No.

 

Mark Lang v. Mirabilis
Ventures, Inc.
(Counterclaim, settled)

Orange County, Florida

48-2007-CA-002929-0

 

David Chaviers, Norman
Chaviers, Kellie Ledbetter
and Tom Hancock v.
Mirabilis Ventures, Inc.
And Frank Amodeo, et al.
(Counterclaim, settled)

U.S.D.C., N.D. Ala.

CV-07-0442-cls

 

Carlton Fields v. Mirabilis
Ventures, Inc.
(Counterclaim, settled)

Hillsborough County,
Florida

07-CC-038145

 

Brevard County v. RKT
Constructors, Inc.
(Counterclaim, settled)

Brevard County, Florida

05-2007-CA-12251

 

Bellsouth v. RKT
Constructors, Inc., et al.
(Counterclaim, settled)

Orange County, Florida

05-2007-CA-9660-0

 

Dutko Global Advisors
LLC v. AQMI Strategy
Corporation

(Counterclaim, settled)

Orange County, Florida

48-2007-CA-018164-0

 

Capital Office Products of
Volusia County, Inc., v.
Mirabilis Ventures, Inc.
(Counterclaim, settled)

Volusia County, Florida

2007-34950 COCI

 

CDW Corporation, Inc. v.
Information Systems, Inc.
(Counterclaim, settled)

Cook County, Illinois

2007-L-002446

 

RKT Constructors, Inc. v.
Florida Department of
Transportation (Settled)

Broward County, Florida

05-2003-CA-047397

 

 

RKT Constructors, Inc. v.
Florida Department of
Transportation (Settled)

 

Broward County, Florida

 

05-2006-CA-060518

 

 
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Style of case Location Case No.

Providence Property & U.S.D.C., £.D. Tx. 4:07-CV-202
Casualty Insurance Co, et
al. v. Paradyme, Inc., d/b/a
Presidion Solutions VI

 

 

 

 

 

 

 

 

 

 

(settled)

Presidion Corporation v. Palm Beach County, 502006CA001417xxxxMB

Arrow Creek, Inc., et al. Florida

g. Any and all property of the following bankruptcy estates, including funds

which now constitute or have constituted funds of the estate:

Style of case Location Case No.

In Re: Winpar Hospitality U. S. Bankruptcy Court, 07-11908

Chattanooga, LLC. E.D. Tenn.

Sam Hopkins, Trustee v. U. S. Bankruptcy Court, 08-08005-JDP

Todd Pattison and D. Idaho

Mirabilis Ventures, Inc.

 

 

 

 

 

 

 

 

In Re: Mirabilis Ventures, | U.S. Bankruptcy Court, 6:08-bk-04327-KSJ
Inc. M.D. FI.
In Re: Hoth Holdings, LLC | U. S. Bankruptcy Court, 6:08-bk-04328-KSJ
M.D. FI.
In Re: AEM, Inc. U. S. Bankruptcy Court, 6:08-bk-04681
M.D. FI.
In Re: North American U. S. Bankruptcy Court, 2:07-bk-24900
Communications D. Utah

 

Being fully advised in the premises, the Court finds:
WHEREAS, by virtue of the plea agreement, the United States is now entitled to
possession of the above-listed assets pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. §

2461(c), and Rule 32.2 of the Federal Rules of Criminal Procedure;
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It is hereby ORDERED, ADJUDGED and DECREED:

1. That all right, title and interest of defendant, Frank L. Amodeo, in the
above-listed assets is hereby forfeited to the United States for disposition in accordance
with the law, subject to the provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
2461(c).

2. That, following the entry of an order of forfeiture, the United States is
authorized to seize the specific property subject to forfeiture. The United States also
shall publish notice of the order and of its intent to dispose of the forfeited asset in such
a manner as the Secretary of the Treasury may direct. The United States may also, to
the extent practicable, provide direct written notice to any person known to have alleged
an interest in the above-described assets, that is the subject of this Preliminary Order of
Forfeiture, as a substitute for published notice as to those persons so notified.

3. That any person, other than Frank L. Amodeo, who has or claims any
right, title or interest in the above-described assets must file a petition with this Court for
a hearing to adjudicate the validity of his alleged interest in the forfeited asset. The
petition should be mailed to the Clerk of the United States District Court, Orlando
Division, 401 W. Central Blvd., Suite 1200, Orlando, Florida 32801-0120, within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is
earlier.

4. The petition shall be signed by the petitioner under penalty of perjury, and
shall set forth the nature and extent of the petitioner's right, title or interest in the

forfeited asset, the time and circumstances of the petitioner's acquisition of the right,
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title or interest in the forfeited asset, and any additional facts surrounding the
petitioner's claim and the relief sought.

5. After receipt of the petition by the Court, the Court will set a hearing to
determine the validity of the petitioner's alleged interest in the forfeited asset.

6. That upon adjudication of all third-party interests in the above-described
assets, this Court will enter a Final Judgment of Forfeiture pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), in which all interests will be addressed.

>
DONE and ORDERED this _2 day of October, 2008, in Orlando, Florida.

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UNITED STATES DISTRICT JUDGE
